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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                         )
                                                  )
       v.                                         )              CASE NO.: DKC-19-00541
                                                  )
CATHERINE E. PUGH                                 )
                                                  )

             SUPPLEMENT TO DEFENDANT’S SENTENCING MEMORANDUM

       Catherine E. Pugh, by and through her attorneys, Steven D. Silverman, Andrew C. White, Abigail

E. Ticse, and Silverman, Thompson, Slutkin & White, LLC, hereby supplements her sentencing

memorandum with Exhibit G, a disc that will be filed with the Clerk’s Office and hand-delivered to the

Court. A copy has already been provided to the Government.



                                           Respectfully submitted,
                                                   /s/
                                           Steven D. Silverman (Federal Bar No. 22887)
                                           Andrew C. White (Federal Bar No. 08821)
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